         Case 2:15-cv-07117-VAP-E Document 20 Filed 04/26/16 Page 1 of 2 Page ID #:201
 Name and address:
 ALEKSANDRA ZIMONJIC (State Bar No. 210252)
 MICHAEL I. GOTTFRIED (State Bar No. 146689)
 ROYE ZUR (State Bar No. 273875)
 LANDAU GOTTFRIED & BERGER LLP
 1801 Century Park East, Suite 700
 Los Angeles, California 90067



                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
Sensa Products (assignment for the benefit of creditors),       CASE NUMBER:
LLC, as assignee of Sensa Products, LLC                                           2:15-cv-07117-GHK
                                                 PLAINTIFF(S)
                              v.

Alan Hirsch                                                               REQUEST FOR APPROVAL OF
                                                                        SUBSTITUTION OR WITHDRAWAL
                                               DEFENDANT(S)                      OF COUNSEL

                                                    INSTRUCTIONS
Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).
Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).
If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.
SECTION I - WITHDRAWING ATTORNEY
Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Aleksandra Zimonjic                                                       CA Bar Number: 210252
Firm or agency: LANDAU GOTTFRIED & BERGER LLP

Address: 1801 Century Park East, Suite 700 Los Angeles, California 90067

Telephone Number: (310) 557-0050                                  Fax Number:    (310) 557-0056
E-mail: azimonjic@lgbfirm.com
Counsel of record for the following party or parties: Defendant Alan Hirsch




Other members of the same firm or agency also seeking to withdraw: Michael I. Gottfried (State Bar No. 146689)
Roye Zur (State Bar No. 273875)


G-01 (06/13)                REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF COUNSEL                        Page 1 of 2
Case 2:15-cv-07117-VAP-E Document 20 Filed 04/26/16 Page 2 of 2 Page ID #:202
